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                    IN THE UNITED STATES DISTRICT COURT

               FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ANGEL SULLIVAN-BLAKE and HORACE          CIVIL ACTION
CLAIBORNE, on behalf of themselves and
others similarly situated,               No. 2:18-cv-01698-CRE

            Plaintiffs,

v.

FEDEX GROUND PACKAGE SYSTEM, INC.,

            Defendant.



 FEDEX GROUND’S OPPOSITION TO PLAINTIFFS’ MOTION FOR ISSUANCE OF
                NOTICE UNDER § 216(B) OF THE FLSA
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                                         INTRODUCTION

        The Court should deny Plaintiffs’ Motion for Issuance of Notice under § 216(b) of the

FLSA (“Motion”) because they cannot show that a uniform compensation policy applied to all

drivers who delivered FedEx Ground packages nationwide. Plaintiffs’ FLSA claims (and those

of any putative member of a collective action) turn on the pay practice adopted and implemented

at the sole discretion of their direct employers, not any commonly applicable pay practice, let

alone one FedEx Ground directed. Plaintiffs do not (because they cannot) show they are

similarly situated to all drivers to whom they propose to send notice—drivers who work for

different employers, in different parts of the country, pursuant to different pay practices.

                                   FACTUAL BACKGROUND

        FedEx Ground is a federally-registered motor carrier that offers package pickup and

delivery services. Since its inception, FedEx Ground has relied on independent contractors—not

its own employees—to provide such services between FedEx Ground’s customers and its package

sorting facilities. Customers contract with FedEx Ground for pickup and delivery of packages,

and FedEx Ground contracts with thousands of small businesses whose employees carry out the

physical pickup and delivery of packages.

        FedEx Ground’s contracted service providers operate under a standard base agreement.

Historically, contractors executed contracts known as “Operating Agreements” (“OAs”). (Ex. A,

Decl. of M. Endlish (“Endlish Decl.”) ¶ 7.) In 2010, FedEx Ground began transitioning its

relationship with contractors in some areas to a new, negotiated agreement known as an

“Independent Service Provider Agreement” (“ISPA”) that reflects the dynamic changes in the

delivery marketplace. (Id., ¶ 8.) Under the ISPA, service providers are known as Independent

Service Providers (“ISPs”). (Id. ¶ 9.) Plaintiffs’ proposed collective action concerns ISPs operating

under the ISPA, not the OA, although the latter is still used in some parts of the country. (Id. ¶ 8.)


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       The ISPA gives ISPs discretion to manage their businesses as they see fit. This includes

“sole and complete discretion” over the compensation of their employees. (Ex. B, Decl. of T.

Pierce (“Pierce Decl.”), Ex. 1 at 6, Sched. I, § 5.7.) FedEx Ground does not control or direct any

ISP’s decisions on these matters (Id. ¶¶ 21-39), and ISPs use a variety of methods in paying their

drivers (see Ex. C, Decl. of E. Ortiz (“Ortiz Decl.”) ¶¶ 6-7 (ISP pays drivers an hourly rate); Ex.

D, Decl. of S. Ellis (“Ellis Decl.”) ¶¶ 6-7 (ISP pays drivers a guaranteed day rate for up to 10

hours per day, plus additional compensation for hours over 10 per day); Ex. E, Decl. of G.

Guerrero (“Guerrero Decl.”) ¶ 5 (ISP pays drivers flat day rate plus overtime for hours over 12 in

a day or 40 in a week)).

       Plaintiffs, two drivers who claim they delivered FedEx Ground packages for different,

unnamed ISPs, filed this lawsuit on behalf of themselves and “others similarly situated” to

recover allegedly unpaid overtime. (Compl., ECF No. 1.) Plaintiffs assert that they and drivers

employed by all other ISPs nationwide are similarly situated because they were employed through

and paid by ISPs—not FedEx Ground—and did not receive overtime pay. Notably, Plaintiffs are

not even similarly situated to each other as Claiborne never even drove for an ISP. (Pierce Decl.

¶ 7.) Plaintiffs’ Motion should be denied.

                                             ARGUMENT

I.     PLAINTIFFS ARE NOT ENTITLED TO ISSUE NOTICE UNDER § 216(b)

       The FLSA permits assertion of overtime claims as a collective action only when the

plaintiff and other complaining employees are “similarly situated,” 29 U.S.C. § 216(b), meaning

they are “subject[] to some common employer practice that, if proved, would help demonstrate a

violation of the FLSA,” Zavala v. WalMart Stores, Inc., 691 F.3d 527, 538 (3d Cir. 2012). When

facing a request to issue notice, courts must make an inquiry into whether the putative class

members were “collectively the victims of a single decision, policy, or plan” that violated the


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FLSA. Viscomi v. Clubhouse Diner, Civ. Action No. 13-4720, 2016 WL 1255713, at *4 (E.D.

Pa. Mar. 31, 2016). Plaintiffs must “produce some evidence, beyond pure speculation, of a

factual nexus between the manner in which the employer’s alleged policy affected [them] and the

manner in which it affected other employees.” Symczyk v. Genesis HealthCare Corp., 656 F.3d

189, 193 (3d Cir. 2011), rev’d on other grounds, 569 U.S. 66 (2013) (internal quotation marks

omitted). This standard “works in harmony with the [FLSA’s] opt-in requirement to cabin the

potentially massive size of collective actions.” Id.

       When, as here, putative class members are directly employed by different entities that

contract with an alleged joint employer, courts have required some showing that the alleged

FLSA violations arise from a common source—a single policy or practice for which the alleged

joint employer is responsible. See Nelson v. FedEx Ground Package Sys., Inc., No. 18-cv-01378,

2018 WL 6715897, at *5-6 (D. Colo. Dec. 21, 2018) (citing cases and observing that “the court’s

independent research has [not] identified an analogous situation that resulted in certification absent

allegations establishing the defendant’s participation in plaintiffs’ compensation decisions,

policies, or plans”), recommendation adopted, Order (Feb. 8, 2019), attached as Ex. F.1 This

framework ensures sufficient commonality of the class members’ circumstances to justify

collective treatment. But, here, Plaintiffs do not even attempt to identify any commonly-
1
  See also Korenblum v. Citigroup, Inc., 195 F. Supp. 3d 475, 483-85 (S.D.N.Y. 2016) (declining
conditional certification against putative joint employer when plaintiff failed to offer substantial
allegations showing that it controlled direct employers’ compensation policies or dictated a
policy resulting in alleged violation); Martin v. Sprint/United Mgmt. Co., No. 15 Civ. 5237
(PAE), 2016 WL 30334, at *6-11 (S.D.N.Y. Jan. 4, 2016) (declining conditional certification
against putative joint employer when evidence showed that compensation decisions rested with
plaintiff’s direct employer and plaintiff did not “make any concrete factual allegations to the
effect that . . . the wage, hour, and classification practices that they protest were imposed by, or
derived from, [the putative joint employer] itself”); Xavier v. Belfor USA Grp., Inc., 585
F. Supp. 2d 873, 878-80 (E.D. La. 2008) (declining conditional certification against putative
joint employer when plaintiffs did not show they “were together a part of a common policy, plan,
or decision implemented by [the defendant and putative joint employer] that violated the law”).



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applicable compensation policy that deprives them of overtime pay, and for good reason. The

evidence offered by both Plaintiffs and FedEx Ground proves otherwise: ISPs have full

discretion in setting their drivers’ pay, and their pay policies may (and do) take on many

different lawful forms.2 Faced with this reality, Plaintiffs mistakenly point to FedEx Grounds’

ISP-based business model (coupled with their allegation that FedEx Ground functions as the

drivers’ joint employer) as the requisite source of commonality. (Br. in Supp. of Pls.’ Mot.

(“Mot.”) 4.) That approach was recently rejected by another federal district court facing the same

allegations, Nelson, 2018 WL 6715897, at *5-8, and should be rejected here, too, for the reasons

discussed below.3

       A.      Plaintiffs and the Putative Class Members Are Not Subject to a Single,
               Commonly Applicable Policy Affecting Their Compensation

       Plaintiffs fail to make even a modest factual showing that they are similarly situated to

each other, let alone to members of the vastly-defined putative class. Plaintiffs’ declarations

show they were themselves subject to different compensation policies implemented by the ISPs

employing them. (See Claiborne Aff. ¶ 17 (he has “always been paid a flat weekly or bi-weekly

rate” (emphasis added)); Sullivan-Blake Aff. ¶ 10 (she was paid either a flat daily rate or a flat

per-stop rate, depending on the ISP that employed her) (emphasis added).) Similarly, their

declarations fail to evidence any single, commonly-applicable pay policy or structure to which


2
  For example, the FLSA permits employers to pay non-exempt employees on an hourly basis,
29 C.F.R. § 778.110, a salaried basis, id. § 778.113, a piece-rate basis, id. § 778.111(a), a piece-
rate basis with a guaranteed minimum hourly rate, id. § 778.111(b), on a day or job basis, id.
§ 778.112, or under a “fluctuating work week” methodology, id. § 778.114. Different standards
for determining overtime pay apply to each of these methods. See generally 29 C.F.R. Part 778.
3
  Reviewing the magistrate judge’s recommendation de novo, Judge Moore held that the
plaintiff’s joint-employer contention did not substitute for the requisite “substantial allegations of
a single decision, policy, or plan affecting the putative class members’ pay that was undertaken
by [FedEx Ground].” (Ex. F at 9 (Nelson Order).)



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other drivers were subject. Sullivan-Blake claims that unnamed ISPs offered drivers “either a flat

daily rate or a flat per-stop rate.” (Sullivan-Blake Aff. ¶ 12.) Claiborne states only that other

drivers are paid an unspecified “flat rate.” (Claiborne Aff. ¶ 19.) Thus, while Plaintiffs attest to a

common FLSA violation—failure to pay overtime—they offer no evidence of any universally-

applied FedEx Ground pay policy that produced that violation. That alone merits denial of their

Motion. See Postiglione v. Crossmark, Inc., Civ. Action No. 11-960, 2012 WL 5829793, at *6-7

(E.D. Pa. Nov. 15, 2012) (denying conditional certification when plaintiffs attested to various

policies resulting in unpaid administrative work, each implemented by different supervisors);

Viscomi, 2016 WL 1255713, at *6 (denying conditional certification as to certain claims because

allegedly unlawful policies “were administered in a necessarily individualized, ad hoc manner”).

       FedEx Ground’s evidence reinforces this conclusion.4 Plaintiffs claim they worked for

different ISPs at different locations across the country. Per FedEx Ground’s contracts with those

ISPs, each ISP—not FedEx Ground—has “sole and complete discretion” over their drivers’ pay.

(Pierce Decl., Ex. 1 at 6, Sched. I, §5.7.) And not all ISPs have the same pay policies. Some pay

drivers on an hourly basis, with time-and-a-half for all overtime hours. (Ortiz Decl. ¶¶ 6-7.)

Others pay on a piece-rate or per-stop basis. (Sullivan-Blake Aff. ¶ 10.) Still others pay some

form of a day rate, though this, too, encompasses variations. (Ellis Decl. ¶¶ 6-8; Guerrero Decl.

¶¶ 5-6.) Plaintiffs, therefore, cannot show that all drivers employed by all ISPs are subject to the

same compensation policy that produced the FLSA violations that they allege.

       Nor do Plaintiffs attempt to show as much. At best, they offer evidence that they and

unnamed drivers operating out of three stations in Texas, one in Virginia, and two in North


4
 The Court may properly consider this evidence. See Holley v. Erickson Living, Civ Action No.
11-2444, 2012 WL 1835738, at *4 (E.D. Pa. May 21, 2012) (crediting defendant’s evidence
opposing conditional certification when plaintiff’s evidence did not contradict it).



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Carolina were paid on some form of a flat-rate basis—be it piece-rate, daily, or weekly—without

overtime pay. They make no showing concerning the pay policies employed by ISPs operating

out of hundreds of other stations across the United States. Conditional certification involving any

of these other stations, to which Plaintiffs offer no evidence, is manifestly unwarranted. See

Holley, 2012 WL 1835738, at *4 (refusing to conditionally certify collective action as to second

location because plaintiff offered no evidence regarding the policies and procedures in effect at

that location).

        Indeed, this Court has already rejected an attempt at nationwide FLSA certification

against FedEx Ground brought by the same plaintiffs’ law firm as this case for lack of evidence

regarding drivers outside the stations where the named plaintiffs worked. Hodzic v. FedEx

Ground Package Sys., Inc., No. 15-956, 2016 WL 6248078 (W.D. Pa. Oct. 26, 2016). Hodzic

plaintiffs owned businesses that contracted with FedEx Ground, unlike this case where Plaintiffs

were employees but not also owners of such businesses. But, as here, the plaintiffs’ “evidence

concerning other similarly situated individuals affected by FedEx’s business policies is sparse, at

best.” Id. at *9; see also id. at *8 (“Plaintiffs have failed to adduce sufficient evidence to

conditionally certify a nationwide collective action of FedEx Home Delivery and Ground

contractors.”). Also as in Hodzic, Plaintiffs’ evidence here pertinent to any obligation to work

unpaid overtime is specific to their individual circumstances, which cannot be extrapolated to

thousands of other drivers across hundreds of stations. See id. at *8.

        Finally, even if Plaintiffs’ declarations alluded to some common pay practice applicable

to them and other drivers employed by the same ISPs, Plaintiffs still fail to tie those ISPs’ pay

practices—and the alleged FLSA violations—to any FedEx Ground-directed policy. While they

claim FedEx Ground controlled various aspects of their working conditions, they do not suggest




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that FedEx Ground controlled their ISPs’ decisions concerning driver compensation. The reason is

simple—it does not. (See, e.g., Pierce Decl., Ex. 1 (ISPA); Ortiz Decl. ¶ 5; Ellis Decl. ¶ 9.) In fact,

some ISPs protect their pay practices as proprietary and wish to preclude FedEx Ground from

accessing this information altogether. (Ex. G, Decl. of Kirk Turner ¶ 4.)

        In sum, Plaintiffs have not identified any commonly-applicable pay policy producing the

alleged FLSA violations, let alone one FedEx Ground directed. Thus, they have failed to show

they are similarly situated to each other or the putative class members, and conditional

certification should be denied. See Ex. F at 9; see also Postiglione, 2012 WL 5829793, at *6-7;

Blaney v. Charlotte-Mecklenburg Hosp. Auth., No. 3:10-CV-592, 2011 WL 4351631, at *7

(W.D.N.C. Sept. 16, 2011) (denying conditional certification due to lack of common policy

when alleged policies were “actually left to the decentralized discretion” of individual units and

management staff).

        B.      FedEx Ground’s ISP-Based Business Model Does Not Qualify As a Common
                Policy Supporting Issuance of Notice under § 216(b)

        Unable to allege and substantiate the existence of any universal, FedEx Ground-directed

compensation policy, Plaintiffs instead focus on FedEx Ground’s “nationwide ISP model” as

their basis for conditional certification. In this same vein, Plaintiffs urge the Court to rubber-

stamp the decision in Roy v. FedEx Ground Package System, Inc., No. 3:17-cv-30116, 2018 WL

6179504 (D. Mass. Nov. 27, 2018), only now on a nationwide basis. But neither FedEx Ground’s

ISP-based business model nor the decision in Roy provide a sound basis for conditional

certification of any collective action, let alone one nationwide in scope.

        Plaintiffs’ approach, and by extension that adopted by the Roy court, suffers from a

fundamental analytical flaw. According to Plaintiffs, it is enough for conditional certification to

show that FedEx Ground may qualify as a joint employer because it controls drivers’ working



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conditions—albeit not their pay—and, separately, that they and the putative class members were

paid some type of flat rate without overtime by their direct employers. (Mot. 3-4.) Plaintiffs,

however, conflate two distinct concepts—one bearing on the commonality binding the putative

class together (i.e., the existence of single or common FedEx Ground practice giving rise to an

FLSA violation) and the other bearing solely on who may be held liable for an FLSA violation

(i.e., whether FedEx Ground is the drivers’ joint employer). Roy makes this same mistake, 2018

WL 6179504, at *14, and, as a result, is contrary to precedent in the Third Circuit, See Zavala,

691 F.3d at 538.

       The relevant question for conditional certification is not whether a single entity (e.g.,

FedEx Ground) may be held liable for alleged FLSA violations stemming from the disparate

decisions of distinct and independent actors (e.g., ISPs), but whether the putative class members

were subject to a commonly-applied policy that gave rise to the alleged FLSA violations. By

definition, that proper standard requires some evidence that the alleged violation stems from a

common source that is generally applicable to the entire class. See Martin, 2016 WL 30334, at

*6 (recognizing that allegedly common policy “must be the one that is alleged to have violated

the statute itself”). Indeed, the Third Circuit mandates no less: “[b]eing similarly situated does

not mean simply sharing a common status, like being [employed by a third-party contractor].

Rather, it means that one is subjected to some common employer practice that, if proved, would

help demonstrate a violation of the FLSA.” Zavala, 691 F.3d at 538. The approach Plaintiffs

advocate, and which the court mistakenly adopted in Roy, abandons this requirement and, thus,

contravenes the standard for conditional certification in this circuit.

       FedEx Ground’s decision to contract with ISPs for pickup and delivery services does not,

standing alone, support conditional certification any more than would its decision to directly hire




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its own employees to provide such services. Neither is a common policy that violates the FLSA.

That FedEx Ground contracts with ISPs (or that it is allegedly a joint employer) is not a violation

of the FLSA, and Plaintiffs do not claim otherwise. Nor do they allege that FedEx Ground’s

policy of contracting with ISPs somehow negates those entities’ discretion over drivers’ pay.

Thus, FedEx Ground’s business model does not provide a basis for finding that Plaintiffs and the

putative class are similarly situated. See Zavala, 691 F.3d at 538.

II.    PLAINTIFFS HAVE NOT ACCOUNTED FOR FIRST-FILED CASES

       Although Plaintiffs carve out Massachusetts drivers from their proposed collective action

in deference to Roy, they wholly fail to address various other putative collective actions pending

around the country. Drivers employed by ISPs and CSPs have filed putative collective actions

asserting FLSA overtime claims against FedEx Ground in California, Colorado, and Kentucky,

seeking to represent ISP-specific, station-specific, and statewide classes of drivers in California,

a statewide class of drivers in Colorado, and a potentially nationwide class of drivers in

Kentucky. (Endlish Decl. ¶ 5.) All but two of these cases were filed before this case. (Id.)

       Plaintiffs’ failure to propose any plan for addressing these first-filed cases raises the

potential for competing collective actions that “threaten to present overlapping classes, multiple

attempts at certification in [multiple jurisdictions], . . . complicated settlement negotiations,” and,

most significantly, conflicting outcomes. See Ortiz v. Panera Bread Co., No. 1:10CV1424, 2011

WL 3353432, at *2 (E.D. Va. Aug. 2, 2011); see also Alvarez v. Gold Belt, LLC, No. 08-CV-

4871, 2011 WL 1337457, at *1-2 (D.N.J. Apr. 7, 2011). In fact, the federal court in Colorado has

already rejected conditional certification of a putative statewide collective action. Ex. F at 8-10.

Granting conditional certification of a nationwide FLSA class that includes Colorado drivers

would improperly allow Plaintiffs to effect an end-run around this ruling. The interests of

judicial comity and efficiency do not countenance that result.


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III.   PLAINTIFFS’ PROPOSED CLASS PERIOD IS UNSUPPORTABLE

       Due to Plaintiffs’ request for an extended putative collective action time period, which is

not supported by any authority, FedEx Ground requests separate briefing on the issue if the Court

decides to issue any sort of notice. As just one example, Plaintiffs ask for notice all the way back

to August 29, 2014, based solely on an unaddressed tolling motion in Roy and an inaccurate

construction of a narrow tolling agreement, stating:

       FedEx Ground . . . will not pursue its limitations period defense . . . in this case
       against anyone who opts into the case to the extent that defense is based on the
       passage of time between February 19, 2018, and the date on which “there is a
       ruling on Plaintiffs’ motion for conditional certification and issuance of notice of
       a collective action,” ECF No. 29 (referencing ECF No. 6), if the Court grants
       FedEx Ground’s motion for a stay, see ECF No. 15, at 6, and does not set a
       briefing schedule on Plaintiffs’ motion for conditional certification and issuance
       of notice of a collective action, ECF 6, until after the Court has ruled on FedEx
       Ground’s motion to dismiss, ECF No. 15.

Roy, ECF 30 at 1-2 (emphasis added). That carefully circumscribed and conditioned

modification to the way the FLSA limitations period typically works (tied to the date on which

each person opts in) was proposed to the Roy court for reasons unique to Roy. FedEx Ground

moved to dismiss for lack of personal jurisdiction and to stay briefing on conditional

certification. See Roy, ECF 15 at 1, 6. The Roy court entered an order stating that it would deny

the motion to stay unless the parties entered into a tolling agreement within 14 days. See id. at

ECF 29. Plaintiffs provide no legal authority or explanation for why the case-specific agreement

should apply here.

       To go beyond even that inapplicable agreement (to August 29, 2014), Plaintiffs invoke a

post-agreement motion their counsel filed in Roy seeking further tolling. But that motion is

opposed (see Roy, ECF Nos. 32, 33, 37, 40); has never been granted; and could never have been

granted as to putative opt-ins now at issue in this case because the Roy court had no personal

jurisdiction to adjudicate their claims (see Roy, ECF 64).


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Dated: February 25, 2019             Respectfully submitted,



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                          CERTIFICATE OF SERVICE (CM/ECF)

       I HEREBY CERTIFY that on February 25, 2019, I electronically filed the foregoing
FEDEX GROUND’S OPPOSITION TO PLAINTIFFS’ MOTION FOR ISSUANCE OF
NOTICE UNDER § 216(B) OF THE FLSA with the Clerk of Court using the CM/ECF
system which will send notification of such filing to the following email addresses:

The following are those who are currently on the list to receive e-mail notices for this case.

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                                            s/ Jessica G. Scott
